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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

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GUSTAVIA HOME, LLC, Civil Action No.:
Plaintiff,

-against- VERIFIED COMPLAINT

RICARDO VAZ, DEBRA A. DERBY, CITY OF NEW
YORK ENVIRONMENTAL CONTROL BOARD, CITY
OF NEW YORK DEPARTMENT OF TRANSPORTATION
PARKING VIOLATIONS BUREAU, 446 LAFAYETTE
LLC, and ALLEN MOHAMMED,

Defendants.

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Plaintiff, Gustavia Home, LLC (hereinafter, “Gustavia”), by and through its attorneys,
The Margolin & Weinreb Law Group, LLP as and for its Verified Complaint of foreclosure of
the premises and mortgage against Defendants Ricardo Vaz, Debra A. Derby, City of New York
Environmental Control Board, City of New York Department of Transportation Parking
Violations Bureau, 446 Lafayette LLC and Allen Mohammed (collectively the “Defendants”),
respectfully alleges upon information and belief as follows:

NATURE OF THE ACTION

1. This is an action brought pursuant to New York Real Property Actions and Proceedings
Law, Section 1301 ef seg., to foreclose on a mortgage encumbering the property commonly
known as 446 Lafayette Avenue, Brooklyn, New York 11238 known on the Kings County

Tax Map as BLOCK: 1949 LOT: 38 in the County of Kings, and State of New York (the
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“Subject Property”). The Legal Description of the property is annexed hereto as Exhibit
“A”,
PARTIES

2. Gustavia is a limited liability company organized under Florida law with its principal place

of business located at 104 SE 8" Avenue, Fort Lauderdale, Florida 33301.

Gustavia is a single-member limited liability company.

4.  Gustavia’s single-member is an individual who is a citizen of the United States and who is
domiciled in the State of Florida.

5. Ricardo Vaz, upon information and belief, is a resident and citizen of the State of New
York, having an address at 3320 Avenue H, Apartment 1A, Brooklyn, New York 11210.
Ricardo Vaz is a necessary party defendant to this action by virtue of the fact that he (i)
was present at the time of the execution of the Note and Mortgage (as such terms are
defined below); (ii) is the borrower of the loan; and (iii) is the Mortgagor under the
Mortgage.

6. Debra A. Derby, upon information and belief, is a resident and citizen of the State of New
York, having an address at 3320 Avenue H, Apartment 1A, Brooklyn, New York 11210.
Debra A. Derby is a necessary party defendant to this action by virtue of the fact that she
(i) was present at the time of the execution of the Mortgage (as such terms are defined
below) and (ii) is the Mortgagor under the Mortgage.

7. The City of New York Environmental Control Board is an entity of the city of New York,
having an address at 1250 Broadway, 7" Floor, New York, New York 10001. It is a
Defendant by way of having filed a lien or judgment against the premises, which is subject

to Plaintiff's mortgage lien. Upon information and belief, New York City Environmental
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Control Board is a citizen of the State of New York. Copies of these judgments/liens are
annexed to this complaint as part of Exhibit “F”.

The City of New York Department of Transportation Parking Violations Bureau is an
entity of the city of New York, having an address at 100 Church Street, New York, NY
10007. It is a Defendant by way of having filed a lien or judgment against the premises,
which is subject to Plaintiff's mortgage lien. Upon information and belief, New York City
Department of Transportation Parking Violations Bureau is a citizen of the State of New
York. Copies of these judgments/liens are annexed to this complaint as part of Exhibit “F”’.
446 Lafayette LLC, having an address at 446 Lafayette Avenue, P.O. Box 50264,
Brooklyn, New York 11205, is a party by virtue of Uniform Commercial Code Financing
Statement filed on April 8, 2015 as CRFN: 2015000117688 vs. Debra A Derby and
Ricardo Vaz, which is subject to Plaintiff's mortgage lien. Upon information and belief,
the members of 446 Lafayette LLC are individuals who are citizens of the United States
and who are domiciled in the State of New York. Therefore, 446 Lafayette LLC is a citizen
of the State of New York. A copy of the Uniform Commercial Code Financing Statement
is annexed hereto as part of Exhibit “F”.

Allen Mohammed, upon information and belief, is a citizen of the State of New York,
having an address at 446A Lafayette Avenue, Brooklyn, NY 11238. He is a party
defendant by virtue of having filed a Notice of Pendency on February 12, 2015 against the
subject property for adverse possession, which is subject to Plaintiff's mortgage lien. A
copy of the Notice of Pendency is annexed hereto as part of Exhibit “F”.

Each of the above-named defendants has or claimed to have or may claim to have some

interest in or lien upon said mortgaged premises or some part thereof, which interest or
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lien, if any, has accrued subsequent to, and is subject and subordinate to, the lien of said
Mortgage.

JURISDICTION AND VENUE

This Action is between citizens of different states. The amount in controversy, exclusive of
interest and costs, exceeds $75,000.00. Therefore, jurisdiction is based upon diversity of
citizenship pursuant to 28 U.S.C. §1332.

Venue is deemed proper in this District pursuant to 28 U.S.C. §1391. A substantial part of
the events giving rise to this action took place within the jurisdiction of this court and the
Subject Property is located in this district.

FACTUAL BACKGROUND

This action is brought to foreclose a mortgage made by Ricardo Vaz and Debra A. Derby
set out as follows: Mortgage bearing date the June 15, 2007 made by Ricardo Vaz and
Debra A. Derby to National City Bank to secure the sum of $200,000.00 and interest,
recorded in CRFN: 2008000337415 in the Office of the Register of the City of New York
for the County of Kings on August 22, 2008. Said lien covers premises known as 446
Lafayette Avenue, Brooklyn, New York 11238. A copy of the Mortgage is annexed as
Exhibit “B”.

On June 15, 2007, Ricardo Vaz executed and delivered a Note to National City Bank in the
amount of $200,000.00. A copy of the Note with endorsements is annexed as Exhibit “C”.
Said Mortgage and Note were assigned through Mesne Assignments of Mortgage and
endorsements upon the promissory Note to the Plaintiff Gustavia Home, LLC. The
Assignment of Mortgage into the Plaintiff Gustavia Home, LLC is dated February 15,

2016 and was recorded on May 24, 2016 in the Office of the Register of the City of New
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York for the County of Kings as CRFN: 2016000177032. The Note was transferred by the
lender affixing a proper Allonge, and an Allonge was affixed at the time of each
subsequent transfer. The Assignments of Mortgage are annexed hereto as Exhibit “D”,
respectively.

Any applicable recording tax was duly paid at the time of recording said mentioned
mortgage.

Plaintiff is in physical possession and is the owner and holder of said Note and Mortgage.
Ricardo Vaz and Debra A. Derby have failed to comply with the terms and provisions of
the said Mortgage and said instrument(s) secured by the Mortgage, by failing to make the
Monthly Payments due on the Ist day of August, 2008 and the default continues to date.
Plaintiff has complied with the contractual provisions in the loan documents in that a 30-
day notice to cure was issued on January 20, 2016 (the “Default Notice”) advising of
possible acceleration of the loan and that by virtue of their continuing default under the
Note and Mortgage, if the arrears are not cured, Plaintiff may declare that the outstanding
principal balance due under the Note, together with all accrued interest thereon is
immediately due and payable. The 90-day notice provided by RPAPL 1304(1) was not
required as the borrowers do not reside at the Subject Property. Copies of the Default
Notices with proof of mailing are annexed hereto as Exhibit “E”.

Pursuant to RPAPL Section 1302 as amended, the plaintiff has complied with all the
provisions of Section 595a and Section 6-1 of the Banking Law and RPAPL Section 1304,
except where it is exempt from doing so.

As of the date herein, Ricardo Vaz and Debra A. Derby have failed to respond to the

Default Notices.
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23. Due to the above-described default, Defendants Ricardo Vaz and Debra A. Derby are
indebted to Plaintiff pursuant to the terms of the Note and Mortgage for:

a. The unpaid principal amount due under the Note, and all accrued and unpaid interest and
late charges which sum as of September 11, 2017, amounts to $253.541.82;

b. Attorney’s fees and other costs and disbursements, payable to Gustavia Home, LLC
under the terms of the Note, which will accrue until the amount due and payable under
the Note is paid in full; and

c. Any and all additional fees that are due or may become due and payable as provided
under the terms and conditions of the Note and Mortgage are paid in full.

24. Plaintiff requests that in the event that this action will proceed to judgment of foreclosure
and sale, said premises should be sold subject to the following:

a. Any state of facts that an inspection of the premises would disclose.

b. Any state of facts that an accurate survey of the premises would show.

c. Covenants, restrictions, easements and public utility agreements of record, if any.

d. Building and zoning ordinances of the municipality in which the Mortgaged premises are
located and possible violations of same.

e. Any right of tenants or person in possession of the subject premises.

f. Any equity of redemption of the United States of America to redeem the premises within
120 days from date of sale.

g. Prior lien(s) of record, if any.

25. In the event that Plaintiff possesses any other lien(s) against said mortgaged premises
either by way of judgment, junior mortgage or otherwise, Plaintiff requests that such other

liens(s) shall not be merged in Plaintiff's cause(s) of action set forth in this Complaint, but
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that Plaintiff shall be permitted to enforce said other lien(s) and/or seek determination of

priority thereof in any independent action(s) or proceeding(s), including, without

limitation, any surplus money proceedings.

26. Plaintiff shall not be deemed to have waived, altered, released or changed the election
hereinfore made, by reason of any payment after the commencement of this action, of any
or all of the defaults mentioned herein, and such election shall continue and remain
effective.

27. No other action or proceeding has becn commenced or maintained or is now pending at
law or otherwise for the foreclosure of said Mortgage or for recovery of the said sum
secured by said Note and Mortgage or any part thereof.

WHEREFORE, the Plaintiff demands judgment that the Defendant(s) and each of them
and all persons claiming under them or any of them, subsequent to the commencement of this
action and the filing of a notice of pendency thereof, be barred and foreclosed of and from all
estate, right, title, interest, claim, lien and equity of redemption of, in and to the said mortgaged
premises and each and every part and parcel thereof; that the premises may be decreed to be sold
in one parcel, according to law, subject to the terms set forth in this complaint; that the monies
arising from the sale thereof may be bought into Court; that the Plaintiff may be paid the amount
due on the Note and Mortgage as hereinfore set forth, with interest and late charges to the time of
such payment and the expenses of such sale, plus reasonable attorney’s fees, together with the
costs, allowances and disbursements of this action, and together with any sums from the dates
incurred by Plaintiff pursuant to any term or provision of the Note and Mortgage set forth in this
complaint, or to protect the lien of Plaintiff's Mortgage, together with interest upon said sums

from the dates of the respective payments and advances thereof, so far as the amount of such
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monies properly applicable thereto will pay the same; that this Court forthwith appoint a receiver
of the rents and profits of said premises during the pendency of this action with the usual powers
and duties; and that the Defendants Ricardo Vaz and Debra A. Derby may be adjudged to pay the
whole residue (unless discharged of this debt by the United States Bankruptcy Court), or so
much thereof as the Court may determine to be just and equitable, of the debt remaining
unsatisfied after a sale of the mortgaged premises and the application of the proceeds pursuant to
the directions contained in such judgment, and that in the event that Plaintiff possesses any other
lien(s) against said mortgage premises either by the way of judgment, junior mortgage or
otherwise, Plaintiff requests that such other lien(s) shall not be merged in Plaintiff's cause(s) of
action set forth in this complaint but that Plaintiff shall be permitted to enforce said other lien(s)
and/or seek determination of priority thereof in any independent action(s) or proceeding(s),
including, without limitation, any surplus money proceedings, that an order be entered
compelling that the tenants deliver possession of the premises to Plaintiff, and that the plaintiff
may have such other and further relief, or both, in the premises, as may be just and equitable.
Dated: September 11, 2017
Syosset, New York
Yours, etc.
The Margolin & Weinreb

Law Group, LLP
Attorneys for Plaintiff

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VERIFICATION BY ATTORNEY

ALAN H. WEINREB, an attorney duly admitted to practice before the courts of this state
and associated with the attorneys of record for the plaintiff, affirms under the penalties of perjury
that: I have read the foregoing Complaint and the same is true to my own knowledge except as to
matters alleged to upon information and belief as to those matters I believe them to be true. The
grounds of my belief as to matters not based upon personal knowledge are communications with
plaintiff or officers and/or agents of plaintiff and copies of plaintiff's records in my possession.
This affirmation is made by me because plaintiff is not in a county in which my firm has its
office.

Dated: September 11, 2017

Syosset, New York

/s/ Alan H. Weinreb
ALAN H. WEINREB

